         Case 2:19-bk-10119-RK                    Doc 243 Filed 01/21/20 Entered 01/21/20 11:28:19                                       Desc
                                                   Main Document     Page 1 of 1
                                                                                                                         ORDER No.
                                        UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                                                       TRANSCRIPT ORDER FORM
                                                                                                                        CHAPTER 11.00
                                                                                                                        APPEAL?               Yes        No
     (File this form on the related case docket)                                                                        APPEAL No.
                                                                                                                                            (if known)
   Ordering Party’s Name: Baruch C. Cohen, Esq.                                                  Attorney Bar#      159455

   Law Firm: Law Office of Baruch C. Cohen, APLC
   Mailing Address: 4929 Wilshire Boulevard, Suite 940 Los Angeles, CA 90010


   Person to Contact (If Judge-ordered: Transcriber to contact Procurement**): Baruch C. Cohen
   Telephone: ( 323            937-4501
                              )______________ E-mail: bcc@baruchcohenesq.com
   Bankruptcy Case #: 6:13-bk-25280-SY                                    Adversary Proceeding #/MP #:
   Date of Hearing (complete a SEPARATE form for EACH hearing date): 12/10/2019                                        Time: 1:00 pm
   Debtor: David Lee
   Adversary Proceeding Name:                                                              vs.
   Hearing Judge: R. Kwan                                                                  Courtroom #: LA 1675
                Briggs Reporting
   TRANSCRIBER: _____________________________ALTERNATE:  Ben Hyatt
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   FORM. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16
    Transcript Type:                NOTE: The Court is not responsible for determining if a hearing has been previously
                                    transcribed. Check the case docket to determine if a filed transcript already exists or is
                                    being transcribed before filing this form.
                                    Copy of Existing Transcript: Contact the transcriber directly for a copy.
        Ordinary (30 days)               3 Days                    Entire Hearing
        14 Days                          Daily (24 hours)          Ruling/Opinion of Judge only
        7 Days                                                     Testimony of Witness
                                                                   Other*                           (name of witness)
    *Special Instructions:
    Transcript due dates are computed from the date the deposit is received by the Transcriber. The cost of a
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  Date Request Filed:                           Date Sent to Transcriber:                          By     FDS       Mail      Messenger
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  (Tape #:         )Time Start (Index #):                   Time End (Index #):                   Time Start:                Time End:
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